       Case 1:23-cv-00142-BLW Document 114 Filed 05/02/23 Page 1 of 3




                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


  PLANNED PARENTHOOD
  GREATER NORTHWEST, on behalf                  Case No. 1:23-cv-00142-BLW
  of itself, its staff, physicians and
  patients, CAITLIN GUSTAFSON,                  MEMORANDUM DECISION
  M.D., on behalf of herself and her            AND ORDER
  patients, and DARIN L. WEYHRICH,
  M.D., on behalf of himself and his
  patients,

        Plaintiffs,

         v.

  RAÚL LABRADOR, in his official
  capacity as Attorney General of the Sate
  of Idaho; MEMBERS OF THE IDAHO
  STATE BOARD OF MEDICINE and
  IDAHO STATE BOARD OF
  NURSING, in their official capacities,
  COUNTY PROSECUTING
  ATTORNEYS, in their official
  capacities,

        Defendants.



      This case involves a challenge to Attorney General Labrador’s interpretation

of Idaho’s criminal abortion statute, Idaho Code § 18-622. Plaintiffs filed their

complaint and a motion for a preliminary injunction on April 5, 2023. The next

day, the Court set a status conference for April 7. Hours before the status


MEMORANDUM DECISION AND ORDER - 1
       Case 1:23-cv-00142-BLW Document 114 Filed 05/02/23 Page 2 of 3




conference, Defendants circulated to Court and counsel a new letter from the

Attorney General that withdrew the letter containing the challenged legal

interpretation. Dkt. 41-4. At the status conference, the Court and the parties

discussed a schedule for litigating the preliminary injunction given the new letter.

The Court ultimately set an expedited briefing schedule for both the Plaintiffs’

preliminary injunction and Defendants’ motion to dismiss. Dkt. 41. On April 24,

the Court held a hearing on the motions, which are now under advisement.

      Now, three days after the hearing, the Attorney General has asked for

supplemental briefing. He has now issued another letter, this one a policy opinion,

that interprets his authority to prosecute violations of the criminal abortion statute.

He would like to relitigate the preliminary injunction and motion to dismiss in light

of this letter. Moreover, he apparently regrets his choice to litigate the case “solely

on the ground that no Article III controversy exists.” Dkt. 106 at 3. Now, he asks

for “the opportunity to brief the extent to which Plaintiffs’ intended conduct

here—counseling and referrals for out-of-state abortions—constitutes protected

speech under the First Amendment.” Id. at 3.

      The Court will deny the motion for supplemental briefing. The Attorney

General could have issued the new opinion or made the protected speech argument

on the original briefing schedule. Plaintiffs have waited several weeks for urgent




MEMORANDUM DECISION AND ORDER - 2
        Case 1:23-cv-00142-BLW Document 114 Filed 05/02/23 Page 3 of 3




relief—due in part to the Court’s calendar—and the Court will not impose further

delay for matters that could and should have been brought sooner. The Court will

resolve the motion for a preliminary injunction and the motion to dismiss on the

briefs that the parties timely filed.

                                        ORDER
       IT IS ORDERED that:

       1.     Defendants Motion for Supplemental Briefing (Dkt. 106) is DENIED.



                                            DATED: May 2, 2023


                                            _________________________
                                            B. Lynn Winmill
                                            U.S. District Court Judge




MEMORANDUM DECISION AND ORDER - 3
